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                            DECLARATION OF ANWEN HUGHES
       I, Anwen Hughes, declare under penalty of perjury that the statements that follow are true
and correct to the best of my knowledge and belief:
   1. I am an attorney employed with Human Rights First. I am one of the counsel in D.V.D. v.
Dep’t of Homeland Security, No. 1:25-cv-100676-BEM (D. Mass.). I represent D.D., one of the
U.S. Immigration and Customs Enforcement (“ICE”) detainees currently being held in Djibouti
who is requesting a reasonable fear interview prior to any attempt to remove him to South Sudan.

    2. I make this declaration in support of Plaintiffs’ position that D.D. is a member of the
certified class in this case. The information that follows is based on my conversations with D.D.
and his wife, mother, and sister in the United States, my review of his immigration court docket
information, and legal documents provided to me by his family.

    3. D.D. was born in April 1992, in Khartoum, Sudan. His family fled Sudan for Ethiopia as
refugees when D.D. was a very small child. From there, they were resettled to the United States
as refugees in 1998 through the U.S. Refugee Admissions Program. U.S. Citizenship and
Immigration Services (USCIS) subsequently adjusted D.D.’s immigration status to that of a
lawful permanent resident. He grew up in Nebraska and has never set foot in what is now the
Republic of South Sudan.

    4. On May 9, 2011, ICE in Omaha, Nebraska, initiated removal proceedings under 8 U.S.C.
§ 1229a against D.D. by issuing a Notice to Appear charging him as removable based on
criminal convictions. Sudan was designated as the country for removal in those proceedings. An
immigration judge ordered D.D. removed to Sudan on July 19, 2011. South Sudan had become
an independent country just ten days earlier, on July 9, 2011.

    5. D.D. thus had no reason or opportunity to seek protection against removal to South Sudan
in those 2011 removal proceedings. After he received a final order of removal, ICE was unable to
remove him to Sudan, the country designated for removal, and released him under an order of
supervision.

    6. In 2021, ICE redetained D.D. and requested a travel document for him from the Republic
of South Sudan, but none was issued, and after approximately eight months of detention, D.D.
was released based on the fact that ICE was unlikely to be able to deport him in the reasonably
foreseeable future. .

   7. ICE redetained D.D. in Nebraska in early May of this year.

    8. D.D. fears that he will be tortured if removed to the Republic of South Sudan for several
reasons, including but not limited to, current conditions in that country and the way the United
States government has characterized and publicized his own criminal record and the records of
the other men with whom he is presently detained.

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                                                                                    EXHIBIT A
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   9. ICE has not yet scheduled D.D. for a reasonable fear interview.
                                                          s/Anwen Hughes
                                                          Anwen Hughes
Executed at New York, New York,
on June 23, 2025.




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